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19                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
20                               SAN FRANCISCO DIVISION

21   DOUGLAS J. REECE, on his own behalf and           )   No. 3:20-cv-02345 WHO
     all others similarly situated,                    )
22                                                     )   Potentially Related Case Nos.
                                                       )   4:20-cv-02512-VC
23                                Plaintiff,           )   4:20-cv-02597-JSW
                                                       )
24   v.                                                )   ADMINISTRATIVE MOTION TO
                                                       )   CONSIDER WHETHER CASES
25   ALTRIA GROUP, INC., and JUUL LABS,                )   SHOULD BE RELATED
     INC.,                                             )   (Civil L.R. 3-12(b) and 7-11)
26                                                     )
                                                       )   Judge: Hon. William H. Orrick
27                                Defendants.          )
                                                       )
28                                                     )
     [No. 3:20-cv-02345 WHO] ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD
     BE RELATED (Civil L.R. 3-12(b) and 7-11)
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1           Pursuant to Local Rule 3-12(b), Plaintiff Matthew Blomquist (“Blomquist”) in the action

2    entitled Blomquist v. Altria Group, Inc. et al., No. 4:20-cv-02512-VC (“Blomquist action”), filed

3    in this District on April 13, 2020, respectfully submits this Administrative Motion To Consider

4    Whether Cases Should Be Related for the Court to consider whether the Blomquist Action and

5    the action entitled Martinez v. Altria Group, Inc., et al., No. 4:20-cv-02597-JSW (“Martinez

6    action”), should be related to Reece v. Altria Group, Inc., et al., No. 3:20-CV-02345-WHO

7    (“Reece action”), the first filed case in this district pursuant to Civil Local Rule 3-12.

8           “An action is related to another when: (1) The actions concern substantially the same

9    parties, property, transaction or event; and (2) It appears likely that there will be an unduly

10   burdensome duplication of labor and expense or conflicting results if the cases are conducted

11   before different Judges.” Civ. L.R. 3-12(a)

12          Plaintiff Blomquist is aware of two cases which are potentially related to the Reece action:

13     CASE NAME                         CASE NUMBER & COURT                          DATE FILED
       Reece v. Altria Group, Inc.,      3:20-cv-02345 WHO (N.D. Cal.)                April 7, 2020
14
       et al.
15     Blomquist v. Altria Group,        4:20-cv-02512-VC (N.D. Cal.)                 April 13, 2020
       Inc., et al.
16     Martinez v. Altria Group,         4:20-cv-02597-JSW (N.D. Cal.)                April 14, 2020
       Inc., et al.
17

18          Pursuant to Civil Local Rule 3-12(a)(1), the Blomquist and Martinez actions should be
19   related to the Reece action because both all of these actions allege that the same defendants,
20   Defendants Altria Group, Inc. (“Altria”) and Juul Labs, Inc. (“Juul”), violated antitrust laws by
21   entering an anticompetitive agreement by which Altria agreed to refrain from competing with
22   Juul and exited the closed-system electronic cigarettes (“e-cigarettes”) market in exchange for a
23   35% ownership interest in Juul. Plaintiffs in these actions all assert substantially similar claims
24   for violations of the Sherman Act, 15 U.S.C. § 1.
25          Moreover, pursuant to Civil Local Rule 3-12(a)(2), relation of these three actions is
26   appropriate given that it appears likely that there will be an unduly burdensome duplication of
27   labor and expense or the possibility of conflicting results if the cases are conducted before
28
     [No. 3:20-cv-02345 WHO] ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD
     BE RELATED (Civil L.R. 3-12(b) and 7-11)                                                          1
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1    different Judges.    Relating the cases will help eliminate duplicative discovery, prevent

2    inconsistent pretrial rulings, and conserve the resources of the parties, their counsel and the

3    judiciary, and avoid the potential for conflicting results, consistent with Civil Local Rule 3-

4    12(a)(2) .

5           Pursuant to Local Rule 3-12, Plaintiff Blomquist respectfully requests that the actions

6    entitled Blomquist v. Altria Group, Inc., et al., No. 4:20-cv-02512-VC and Martinez v. Altria

7    Group, Inc., et al., No. 4:20-cv-02597-JSW, be deemed related to Reece v. Altria Group, Inc., et

8    al., No. 3:20-cv-02345 WHO, the first filed case in this district, which is presently assigned to the

9    Honorable Judge William H. Orrick.

10

11   Dated: April 20, 2020                          Respectfully submitted,
12                                                  BERMAN TABACCO
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14                                                  By:     /s/ Todd A. Seaver
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     BE RELATED (Civil L.R. 3-12(b) and 7-11)                                                3
